8
Case 1:19-cv-10845-ADB Document 1-1 Filed 04/23/19 Page 1 of

Commonwealth of Massachusetts

 

MIDDLESEX,Ss. TRIAL COURT OF THE COMMONWEALTH
SUPERIOR COURT DEPARTMENT
CIVIL DOCKET No,

Col Ouieerey , PLAINTIFF(S),

Vv.

Sreotender Soot wa. DEFENDANT(S)

Danan SM ONS WA

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THIS SUMMONS |S DIRECTED To y. . (Defendant's name)

 

How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a
copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by:

Filing your signed original response with the Clerk’s Office for Civil Business, SAferior Court,

OORoch nA (address), by mail or in person, AND

Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the following
address: ;

What to include in your response. An “Answer" is one type of response to a Complaint. Your Answer
must state whether you agree or disagree with the fact(s) alleged in each Paragraph of the Complaint.
Some defenses, called affirmative defenses, must be Stated in your Answer or you may lose your right to
use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
based on the same facts or transaction described in the Complaint, then you must include those claims
in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in your
Answer or in a written demand for a jury trial that you must send to the other side and file with the

court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
“Motion to Dismiss,” if you believe that the complaint is tegally invalid or legaily insufficient. A Motion
to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
you are filing a Motion to Dismiss, you must also comply with the filing Procedures for “Civil Motions”
described in the rules of the Court in which the complaint was filed, available at

Www. Mass.gov. courts/case-legal-res/rules of court,

 

 

 

 
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You may wish to get legal help from a lawyer. If you cannot get legal help, some basic

 

4. Legal Assistance.
information for people who represent themselves is avaliable at www.mass.gov/courts/selfhelp.
5) Required information on all filings: The “civil docket number” appearing at the top of this notice is the
t appear on the front of your Answer or Motion to Dismiss.

case number assigned to this case and mus
You should refer to yourself as the “Defendant.”

Witness Hon. Judith Fabricant, Chief Justice on Saswery Sr , 208.

 

 

Cflerk-Magistrate

Magistrate at the beginning of the lawsuit should be indicated on the

Note: The number assigned to the Complaint by the Clerk-
summons before itis served on the Defendant. !

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PROOF OF SERVICE OF PROCESS

TO

| hereby certify that on_—_____—_—___———— 20___. | served a copy of this summons,
together with a copy of the complaint in this action, on the defendant named in this summons, in the

following manner (See Mass. R. Civ. P. 4(a}(1-5)):

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, 20 Signature:

Dated:

N.B. TO PROCESS SERVER:
t

U MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH

PLEASE ENTER THE DATE THAT yo
HE DEFENDANT.

ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON T

 

 

 

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COMMONWEALTH OF MASSACHUSETTS

 

MIDDLESEX, SS WOBURN SUPERIOR COURT
CIVIL ACTION NO: $43,>,4.3:,,

)
GAIL SWEENEY, )
Plaintiff, )
)
Vv )
)
SANTANDER BANK, N.A. )
Defendant, )
)

 

 

COMPLAINT AND DEMAND FOR TRIAL BY JURY

 

to

INTRODUCTION

This is an action brought by Plaintiff, Gail Sweeney against Santander Bank, N.A. for
Age and Race discrimination, retaliation and failure to remit Severance Benefits.

PARTIES

Plaintiff Gail Sweeney (hereinafter “Sweeney”) is an individual residing in Braintree,
Norfolk County, MA 02184.

Defendant, Santander Bank N.A., (hereinafter “Santander”), is a national banking
institution with its principal place of business at 824 North Market Street, Suite 100,
Wilmington, New Castle County, Delaware 19801, with branches throughout
Massachusetts, with an office in the above-mentioned matter (where plaintiff worked at
relevant times) located at 5 Whittier Street in Framingham, Middlesex County,

Massachusetts, 01701.
FACTS

Plaintiff was employed by Santander and the various predecessors of Sovereign Bank
such as Bank of Boston dating back to 1984, roughly 33 years.

Upon information and belief, Sweeney had in general an exemplary career, receiving
mostly positive reviews with corresponding wage increases and upon information and
belief was not given any valid written warnings concerning her performance pursuant to
Santander’s progressive discipline policy in the thirty-three (33) years preceding the

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alleged events on or about June 2017. Contrarily, Sweeney customarily received
positive performance reviews up to and including her final review in February of 2017,

which resulted in a monetary raise.

Sweeney who worked in a call center of defendant in close quarters with other
employees, with no mal intent, allegedly asked a coworker, on one occasion who would
begin speaking in English and then switch to Spanish in conversing with another
coworker, if she would mind refraining from doing so, as it made other workers,
including herself, uncomfortable as she did not speak Spanish. Sweeney’s manager
previously advised her that English was the language to be spoken in the workplace at

Santander.

On or about mid-June of 2017, a coworker in the above-mentioned interaction filed a
complaint against Sweeney with Santander. Sweeney did not receive reciprocal respect
and treatment during the handling of the complaint, and believes this utilized as a ruse
and/or as part of the policy and practice of Santander to eliminate older, white workers
of protected class. By this point, several other employees within Sweeney’s age bracket
at Santander and within the same department had been systemically separated from

employ.

Upon information and belief, Santander’s actions indicate a recurrent pattern in which
white employees often 50 years old or older, within the protected class, were
systematically replaced by younger, mainly minority workers.

On or about June 26, 2017, Sweeney attended the follow-up meeting which consisted
of the following members of management: Director of Fraud Prevention, the Fraud
Card Prevention Manager, and a representative from Employee Relations.

At the aforementioned meeting on or about June 26, 2017, Sweeney was allegedly
initially terminated from her position of Fraud Analyst at Santander, located at 5
Whittier Street in Framingham, Massachusetts, 01701, purportedly due to the prior
interaction with the co worker, although subsequently dates of July and August 2017
respectively were provided by the defendant as termination dates.

Sweeney was provided with an improperly/deficiently implemented/explained
severance option, resulting in an improper offer of eight (8) weeks of severance for over
30 years of service.

Sweeney, like several other older Santander employees around the same time, was
offered an inadequate severance package with oppressive releases, to be replaced by
younger often minority employees who would be paid significantly less that an

individual with Sweeney’s experience.

But for Santander’s unlawful actions, Sweeney would have anticipated employment at
Santander based upon her prior work history, until the retirement age of 67.

 
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Sweeney has been unable to find gainful employment since her termination at
Santander.

On April 20, 2018, Sweeney filed a complaint against Defendant (MCAD #
18BEM01333; EEOC # 16C-2018-01581) alleging discrimination on the basis of age,
in violation of M.G.L. ¢. 151B, §4 (1B) and the Age Discrimination and Employment

Act (ADEA), 29 U.S.C. §623 et seq. as well as race etc.

As of the time of filing this Complaint, Defendant has refused to provide redress or act
on issues presented by Sweeney.

On or about August 16, 2018, Sweeney requested permission to withdraw her complaint
from the MCAD in order to file a private right of action in civil court.

EXHAUSTION OF REMEDIES

Plaintiff has exhausted administrative remedies through MCAD and as such has
previously submitted a Withdrawal Form after 90 days from filing the Complaint at

MCAD.
CAUSES OF ACTION

 

(Each Cause of Action Specifically Incorporates by Reference All of Those
Paragraphs Previously Set Forth)

COUNT I: M.G.L, c. 151B, Sections 4(1B) et seq.

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The foregoing allegations are restated and incorporated herein.

The Massachusetts Fair Employment Practices Act (“FEPA”) prohibits employers from
discriminating against applicants or employees on the basis of age.

FEPA protects individuals who are at least 40 years old, and applies to both public and
private employers with six or more employees.

FEPA prohibits, in part, the discharge from employment unless pursuant to any other
general or special law.

At 60 years old, Sweeney was a member of a protected class under FEPA.
Sweeney adequately performed her duties as a Fraud Analyst at Santander.

Upon Sweeney’s termination, due strictly because of Sweeney’s age, the surrounding
circumstances give rise to a reasonable inference of discrimination by Santander based

upon the protected class status of Plaintiff.

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COUNT Il: ADEA, 29 U.S.C. §623 et seq.

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The foregoing allegations are restated and incorporated herein.

The Age Discrimination in Employment Act (*ADEA”) prohibits employers from
discriminating against employees on the basis of age.

ADEA Protects individuals who are at least 40 years of age.

ADEA prohibits, in part, discharge from employment on the basis of age.

At 60 years old, Sweeney was a member of a protected class under the ADEA.

Sweeney adequately performed her duties as a Fraud Analyst at Santander.

Upon Sweeney’s termination, due strictly because of Sweeney's age, the surrounding

circumstances give rise to a reasonable inference of age discrimination by Santander
based upon the protected class status of Plaintiff.

COUNT HI: M.G.L. C.151B Sections 4(2) et. Seq.
The forgoing allegations are restated and incorporated herein.

FEPA prohibits employers such as the defendant form discriminating against employees
on the basis of race, here the plaintiff.

Plaintiff satisfactorily performed the functions of her job for the defendant.
M.G.L 151B S.2 prohibits in part discharge from employment due to race.

Defendant Santander unlawfully terminated older white employees, such as the Plaintiff
and replaced them with younger non white minorities.

. Upon Sweeney’s termination, due strictly because of Sweeney’s age and race, the

surrounding circumstances give rise to a reasonable inference of race discrimination by
Santander based upon the protected class status of the Plaintiff.

COUNT. IV: BREACH OF CONTRACT: FAILURE TO PAY SEVERANCE
BENEFITS

Plaintiff was employed by Santander.

 
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15, Plaintiff was entitled to severance benefits at the time of her separation for employment.

16. Santander failed to offer an accurate amount, properly explain severance options and/or
failed to remit Severance benefits that Plaintiff was lawfully entitled to.

DEMANDS FOR RELIEF

 

Wherefore, the Plaintiff requests that this Court enter the following relief as to Counts I-IV:
A. Enter Judgment for the Plaintiff as to all Counts;
B. Award restitution of all wages and compensable working time for back-pay;

C. Award restitution for all wages and compensable working time for pay the plaintiff
would have received but for discriminatory and retaliatory animus of defendants;

Award restitution for unpaid Severance Benefits;
Non-discretionary, statutory trebling of damages;
Pre and Post Judgment Interest;

Attorney’s fees and costs;

Punitive damages;

Award his actual damages, emotional distress damages and all other remedies in law and
in equity available under M.G.L. C.151B and ADEA, 29 U.S.C. §623 et seq.; and

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J. Such other relief as this Court deems equitable and just.
' JURY CLAIM
PLAINTIFF CLAIMS TRIAL BY JURY.

  

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James E. Neyman, Es).|(BBO#555229)
76 Canal Street, Third Floor

Jam ‘ymanandassociates.com
Boston, MA 02114; (617) 723.2627

 

 
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CIVIL ACTION COVER SHEET DOCKET NUMBER Trial Court of Massachusetts .
8 si The Superior Court
PLAINTIFF(S}: GAR. SWEENEY COUNTY
ADDRESS: cI
BRAINTREE MA 02184 DEFENDANT{S): SANTANDER BANK, NLA.
ATTORNEY: JAMES NEYMAN
ADDRESS: 76 CANAL STREET, 3D FLOOR ADDRESS: 5 WHITTIER ST FRAMINGHAM MA 01701
BOSTON MA 02114
617-723-2627
BBO- §55229
TYPE OF ACTION AND TRACK DESIGNATION (see reverse side)
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
B22 Employment Discrimination (Age) F YES [_] no

“tf “Other™ please describe: > ‘ =

 

 

 

STATEMENT OF DAMAGES PURSUANT 10 G.L.c. 212,§ 3A

this form, disregard double or treble damage claims; indicate single damages only.

T IMS
(attach additional sheets as necessary}

A. Documented medical expenses to daie:

1, Total hospital expanses oo... cesccsssccccssesscecoscess
2. Total doctor expanses wo... seseaees
3. Total chiropractic OXPONs@S ooo ee seeesese
4. Total physical therapy @XPENSES .........
5, Total other expenses (describe DOIOW) once cncesdccsceesessece

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B. Documented lost wages and compensation to date oo... ccccceece
C. Documented property damages to dated th Pernonengndaoanasnavaduesvizeee:
D, Reasonably anticipated future medical and hospital expenses ..
E, Reasonably anticipated fost WAQOS rn ccevissnncosemerensnu,
F, Other documented items of damages {describe below) ......

G, Briefly describe plaintiff's injury, including the nature and extent of injury:
lost wages, emotional distress caused by wrongful termination
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Hed p\Sorrannaa— vc, GCONTRAGT CLAIMS
i \ minor pep aetna sheels as necessary)
é vi A : i \ Cd
Provide OM) Mh cds claims(s): }

TOTAL: §

Signature of Attorney/Pro Se Plaintiff: X Date:

The following is a full, itemized and detaited statement of the facts on which the undersigned plaintiff or plaintiff counsel relies to determine money damages, For

TOTAL (A-F):§ pied.

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RELATED ACTIONS: Please provide the case number, case name, and county of any related actions pending in the Superior Court.

 

 

CERTIFICATION PURSUANT TO SJC RULE 1:48

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Signature of Attorney of Record: X

| hereby certify that | have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that i provide my clients with information about court-cannected dispute resolution services and discuss with them the

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Date: Dy; 18

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